        Case 3:21-cv-00484-FJS-ML Document 8 Filed 06/14/21 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                                        for the
                            NORTHERN DISTRICT OF NEW YORK


______________________________________
RONALD M. GEORGIA,

              Plaintiff,
                                                               ANSWER
vs.
                                                  Civil Action No. 3:21-cv-484(FJS/ML)
KYLE DAVENPORT,

            Defendant.
_______________________________________



       Defendant, by and though his attorney, the Tompkins County Attorney’s Office, answer

the Complaint as follows:

       1.     Paragraph 1 of the Complaint alleges what plaintiff claims and requires no

response.

       2.     Deny the allegations in Paragraph 2 of the Complaint.

       3.     Deny the allegations in Paragraph 3 of the Complaint.

       4.     Deny the allegations in Paragraph 4 of the Complaint.

       5.     Deny the allegations in Paragraph 5 of the Complaint.

       6.     Deny the allegations in Paragraph 6 of the Complaint.

       7.     Deny the allegations in Paragraph 7 of the Complaint.

       8.     Deny the allegations in Paragraph 8 of the Complaint.

       9.     Deny the allegations in Paragraph 9 of the Complaint.

       10.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 10 of the Complaint.
        Case 3:21-cv-00484-FJS-ML Document 8 Filed 06/14/21 Page 2 of 5




       11.     Deny the allegations in Paragraph 11 of the Complaint.

       12.     Deny the allegations in Paragraph 12 of the Complaint.

       13.     Deny the allegations in Paragraph 13 of the Complaint.

       14.     Admit the allegations in Paragraph 14 of the Complaint.

       15.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 15 of the Complaint.

       16.     Admit that Davenport is a citizen of the United States and resident of the State of

New York otherwise deny the allegations in Paragraph 16 of the complaint as it contains a legal

argument that requires no response..

       17.     Deny the allegations in Paragraph 17 of the Complaint.

       18.     Deny the allegations in Paragraph 18 of the Complaint.

       19.     Deny the allegations in Paragraph 19 of the Complaint.

       20.     Admit the allegations in Paragraph 20 of the Complaint.

       21.     Admit the allegations in Paragraph 21 of the Complaint.

       22.     Deny the allegations in Paragraph 22 of the Complaint.

       23.     Admit that there is body camera footage otherwise deny the allegations in

Paragraph 23 of the Complaint.

       24.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 24 of the Complaint.

       25-46. Paragraphs 25 through 46 contain an incomplete and misleading description of a

video. That video speaks for itself.

       47-56. Deny the allegations in Paragraphs 47 through 56 as they are an incomplete and

inaccurate summary of a written statement. The statement speaks for itself.




                                                2
         Case 3:21-cv-00484-FJS-ML Document 8 Filed 06/14/21 Page 3 of 5




        57.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 51 of the Complaint.

        58.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 52 of the Complaint.

        59.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 10 of the Complaint.

        60.     Deny the allegations in Paragraph 60 of the Complaint.

        61.     Deny the allegations in Paragraph 61 of the Complaint.

        62.     Defendant repeats and realleges each and every allegation contained in Paragraphs

1 through 61 as if fully set forth herein.

        63.     Paragraph 63 recites a Federal statute. That statute speaks for itself.

        64.     Deny the allegations in Paragraph 64 of the Complaint.

        65.     Deny the allegations in Paragraph 65 of the Complaint.

        66.     Deny the allegations in Paragraph 66 of the Complaint.

        67.     Paragraph 67 of the complaint contains a legal argument that requires no response.

        68.     Deny the allegations in Paragraph 68 of the Complaint.

        69.     Deny the allegations in Paragraph 69 of the Complaint.

        70.     Deny the allegations in Paragraph 70 of the Complaint.

        71.     Deny the allegations in Paragraph 71 of the Complaint.

        72.     Deny the allegations in Paragraph 72 of the Complaint.

        73.     Deny the allegations in Paragraph 73 of the Complaint.

        74.     Deny the allegations in Paragraph 74 of the Complaint.

        75.     Deny the allegations in Paragraph 75 of the Complaint.




                                                  3
         Case 3:21-cv-00484-FJS-ML Document 8 Filed 06/14/21 Page 4 of 5




        76.     Deny the allegations in Paragraph 76 of the Complaint.

        77.     Defendant repeats and realleges each and every allegation contained in Paragraphs

1 through 76 as if fully set forth herein.

        78.     Deny the allegations in Paragraph 78 of the Complaint.

        79.     Deny the allegations in Paragraph 79 of the Complaint.

        80.     Deny the allegations in Paragraph 80 of the Complaint.

        81.     Deny the allegations in Paragraph 81 of the Complaint.

        82.     Deny the allegations in Paragraph 82 of the Complaint.

        83.     Deny the allegations in Paragraph 83 of the Complaint.

        84.     Deny the allegations in Paragraph 84 of the Complaint.

        85.     Deny the allegations in Paragraph 85 of the Complaint.

        86.     Defendant repeats and realleges each and every allegation contained in Paragraphs

1 through 85 as if fully set forth herein.

        87.     Deny the allegations in Paragraph 87 of the Complaint.

        88.     Deny the allegations in Paragraph 88 of the Complaint.

        89.     Deny the allegations in Paragraph 89 of the Complaint.

        90.     Deny the allegations in Paragraph 90 of the Complaint.

        91.     Deny the allegations in Paragraph 91 of the Complaint.

        92.     Deny the allegations in Paragraph 92 of the Complaint.

        93.     Deny the allegations in Paragraph 93 of the Complaint.

        94.     Deny the allegations in Paragraph 94 of the Complaint.

        95.     Deny the allegations in Paragraph 95 of the Complaint.




                                                4
        Case 3:21-cv-00484-FJS-ML Document 8 Filed 06/14/21 Page 5 of 5




                                  AFFIRMATIVE DEFENSES

                     AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       1.      Complaint fails to state a claim upon which relief can be granted.

                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       2.      Defendant enjoys qualified immunity.

                    AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       3.      Defendant enjoys absolute immunity.

                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       4.      The Complaint is untimely.

                     AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       5.      The injuries, if any, alleged to have been sustained by plaintiff, were caused, in

whole or in-part, by the culpable conduct of plaintiff.

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       6.      Defendant had probable cause for arrest.

                  AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       7.      Defendant acted reasonably and in good faith.

       WHEREFORE, defendant demands dismissal of the complaint and such other relief as the

Court deems just and proper



Dated: June 14, 2021
       Ithaca, New York                               ______________________________
                                                            Jonathan Wood, Esq.
                                                            County Attorney
                                                            Bar Roll No. 102842




                                                 5
